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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

                                 )
IOWA PRIMATE LEARNING            ) Case No. 4:10-cv-00052-RAW
SANCTUARY d/b/a GREAT APE TRUST )
and APE COGNITION AND            )
COMMUNICATION INSTITUTE,         )
                                 ) PLAINTIFFS’ EXHIBIT LIST
           Plaintiffs,           )
                                 )
v.                               )
                                 )
ZOOLOGICAL FOUNDATION OF         )
GEORGIA, INC. d/b/a ZOO ATLANTA, )
DEMOCRATIC REPUBLIC OF CONGO,    )
JAPAN MONKEY CENTRE INSTITUTE    )
AND MUSEUM OF PRIMATOLOGY, SUE )
SAVAGE-RUMBAUGH, Ph. D., and     )
BONOBO HOPE INITIATIVE, INC.,    )
                                 )
           Defendants.           )

       COME NOW Plaintiffs Iowa Primary Learning Sanctuary d/b/a Great Ape Trust

(“IPLS”) and Ape Cognition and Communication Institute (“ACCI”), pursuant to Federal Rule

of Civil Procedure 26(a)(3)(C), Local Rule 83.6, the Court’s Order Following Status Conference

Concerning Evidentiary Hearing and Other Deadlines, and Court’s Order Continuing Status

Conference entered herein, and provide their Exhibit List:

                                        EXHIBIT LIST

       Plaintiffs hereby submit the following Exhibit List:

       Defendant’s Exhibits           Objections             Category   Offered    Admit/Not
                                                              A, B, C               Admitted
                                                                                   (A) – (NA)

1      Email string between
         Simpson and D.
     Rumbaugh (between Apr.


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         2, and 3, 2012)
      (Rumbaugh Dep. Ex. 2)

2     Email from Simpson to
      Rumbaugh (August 29,
      2012) (Rumbaugh Dep.
              Ex. 3)

3    Email from S. Rumbaugh
       to Goodenough, et al.
          (Sept. 26, 2012)
      (Rumbaugh Dep. Ex. 4)

4    Email from S. Rumbaugh
       to Goodenough, et al.
     (Oct. 6, 2012) (Rumbaugh
              Dep. Ex. 5

5     Statement of Change of
     Registered Office and/or
     Registered Agent for The
      Iowa Primate Learning
     Sanctuary dba Great Ape
     Trust (Filed Jan. 24, 12)
        (Rumbaugh Ex. 6)

6    Email from Rumbaugh to
     G. Caudill, et al. (Oct. 26,
      2013) (Rumbaugh Dep.
              Ex. 7)

7     ACCI Active Research
      Protocols (ACCI00043)

8         Taglialatela CV

9           Hopkins CV

10     Any exhibits listed by
           Defendants

11      Any demonstrative
             exhibits

12   Any exhibits necessary to
        explain, refute, or
        otherwise address



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          evidence which is
           admitted over the
       objection of Plaintiffs
     including, but not limited
     to, the evidentiary matters
      addressed in any motion
          or briefing filed by
               Plaintiffs

13   Any exhibits necessary for
          rebuttal and/or
           impeachment




                                     /s/ William J. Miller
Date: May 13, 2015                   William J. Miller (AT0005414)
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                                     ATTORNEYS FOR PLAINTIFFS

Original filed. Copy to:                                      CERTIFICATE OF SERVICE

                                     The undersigned certifies that on May 13, 2015, the foregoing instrument was
Todd P. Langel                       served upon all parties to the above case and/or to each of the attorneys of record
                                     herein at their respective addresses disclosed on the pleadings:
Faegre Baker Daniels LLP
801 Grand Avenue, 33rd Floor          By:    Electronic Filing and/or
                                                     U.S. Mail                   FAX
Des Moines, IA 50309                                 Hand Delivered              Overnight Courier
                                                     E-mail                      Other

William C. Zifchak                    /s/ Brian A. Melhus
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